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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
MCCARTER & ENGLISH, LLP
John C. Garde, Esq.
Four Gateway Center
100 Mulberry Street
Newark, New Jersey 07102
Telephone: (973) 622-4444
Facsimile: (973) 624-7070
Email: jgarde@mccarter.com
Attorneys for Defendants Johnson & Johnson and
Johnson & Johnson Consumer Inc.

In Re:                                               Chapter 11
Imerys Talc America, Inc.                            Lead Case No. 19-10289-LSS
                                                     District of Delaware

KATHLEEN SAUL and PHILIP SAUL,                       SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: MIDDLESEX COUNTY
                           Plaintiffs,               DOCKET NO.: MID-L-0827-18 AS

v.

BRENNTAG NORTH AMERICA, INC. (sued
individually and as successor-in-interest to
MINERAL PIGMENT SOLUTIONS, INC. and
as successor-in-interest to WHITTAKER CLARK
& DANIELS, INC.);

BRENNTAG SPECIALTIES, INC. f/k/a
MINERAL PIGMENT SOLUTIONS, INC. (sued
individually and as successor-in-interest to
WHITTAKER CLARK & DANIELS, INC.);

BRISTOL-MYERS SQUIBB COMPANY
(sued individually and as successor-in-interest to
CHARLES OF THE RITZ);

CYPRUS AMAX MINERALS COMPANY
(sued individually, doing business as, and as
successor to AMERICAN TALC COMPANY,
METROPOLITAN TALC CO. INC. and
CHARLES MATHIEU INC. and SIERRA TALC
COMPANY and UNITED TALC COMPANY);



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IMERYS TALC AMERICA, INC. (sued
individually and as successor-in-interest to
LUZENAC AMERICA, INC. successor-in-
interest to CYPRUS INDUSTRIAL MINERALS
COMPANY and WINDSOR MINERALS, INC.
and METROPOLITAN TALC CO.);

JOHNSON & JOHNSON;

JOHNSON & JOHNSON CONSUMER INC.,
a subsidiary of JOHNSON & JOHNSON;

WHITTAKER CLARK & DANIELS, INC.;

YVES SAINT LAURENT AMERICA, INC., a
subsidiary of KERING HOLLAND NV;

JOHN DOE CORPORATIONS 1-50
(fictitious);

                               Defendants.



                               CERTIFICATION OF SERVICE



1.      I, John C. Garde, am a Member of the firm of McCarter & English, LLP counsel for
        Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc. in the above-
        captioned matter.

2.      I sent a copy of Notice of Removal with supporting documents to the parties listed on the
        following Parties of Record list.

3.      I hereby certify under penalty of perjury that the above documents were served by
        electronic mail and regular mail by no later than the next business day to the parties listed
        on following page.


Dated: April 28, 2019
                                                 By: /s/ John C. Garde
                                                      John C. Garde




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                                  PARTIES OF RECORD

Robert E. Lytle, Esq.
Szaferman Lakind Blumstein & Blader, P.C.
101 Grovers Mill Rd #200
Lawrence Township, NJ 08648
609.275.0400
RLytle@szaferman.com
Counsel for Plaintiff

Leah Kagan, Esq
Simon Greenstone Panatier
3232 McKinney Ave
Suite 610
Dallas TX, 75204
214.276.7680
lkagan@sgptrial.com
Counsel for Plaintiff

John C. Garde, Esq.
MCCARTER & ENGLISH, LLP
Four Gateway Center
100 Mulberry Street
Newark, New Jersey 07102
973.622-4444
 jgarde@mccarter.com
Attorneys for Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc.

Elizabeth B. Kelly, Esq.
Hawkins Parnell Thackston & Young
600 Lexington Avenue, 8th Floor
New York, NY 10022
212.897.9655
ekelly@hpylaw.com
Counsel for Yves Saint Laurent America; Bristol Myers Squibb Company; Revlon Inc.

Joel Clark, Esq.
McGivney, Kluger & Cook, P.C.
18 Columbia Turnpike, 3rd Floor
Florham Park, New Jersey 07932
973-822-1110
JClark@mcgivneyandkluger.com

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Counsel for Defendants Whittaker Clark & Daniels

Ronald Edward Hurst, Esq.
Montgomery McCracken Walker Rhoads LLP
Liberty View, Suite 600
457 Haddnfield Road
Cherry Hill, NJ 08002
856.488.7700
rhurst@mmwr.com
Counsel for Brenntag North America, Inc.; Brenntag Specialties.

John C. McMeekin II, Esq.
Rawle & Henderson LLP
Windener Building
One South Penn Square
1339 Chestnut Street, 16th Floor
Philadelphia, PA 19107
215.575.4200
jmcmeekin@rawle.com
Counsel for Imerys Talc America Inc.; Cyprus Amax Minerals Co.


Gary D. Van Lieu, Esq.
O'Toole Scrivo Fernandez Weiner Van Lieu, LLC
14 Village Park Road
Cedar Grove, New Jersey 07009
(973) 239-5700
gvanlieu@oslaw.cm
Counsel for Colgate Palmolive Co.




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